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                         Exhibit 3
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y   Work & Jobs   Social Security   Medicare   Caregiving   Games   Travel   More...                            AARP EN ESPAÑOL




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Relocating Nursing Home Residents Can Be Fatal. Is a Wave of ‘Transfer Trauma’
                                 Coming?
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By Emily Paulin, AARP
Photographs by Matt Eich
Videography by Ray Whitehouse
Published December 20, 2023

  EN ESPAÑOL
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Betty Jo Artrip's favorite spot in Mountain View Regional Hospital, her nursing home of more than
seven years, was the window at the end of her corridor. She affectionately called the spot “the ridge,” for
its view of an Appalachian mountain. It wasn't the most spectacular vista — more of a hillside than a
hilltop — but she loved it, nonetheless.


Most days, after breakfast and a bath, Betty would roll down to the ridge in her wheelchair to meet her
friend Amanda. Dementia hindered their ability to communicate much, but they enjoyed each other's
company as they peered out from the fourth floor together.




     The view from “the ridge”


In July 2022, Ballad Health — a large nonprofit health care chain serving mainly northeast Tennessee
and southwest Virginia — announced it was closing Mountain View. The 44-bed nursing home in the
small town of Norton, Virginia, was fueling “excess capacity” in the region, according to a letter from
Ballad Health to its employees. In other words, too many nursing home beds were going unused. The 20
long-term care residents who lived there, including Betty, would have to find new homes.


The residents were formally given until April 2023 to relocate. But several staff and family members of
residents claim they felt pressure from Mountain View's management to relocate residents as quickly as
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possible.                    Document
          By mid-September 2022,            1-4 Filed
                                 all the residents      04/17/24
                                                   were out.              Page 8 of 28 PageID 138


Betty struggled to adjust to her new 97-bed nursing home. She became confused, anxious and fearful,
according to Jerry Artrip, Betty's youngest son. Then, “it was almost like a depression came over her,”
Jerry recalls. After roughly five weeks in the new facility, Betty died. She was 93.


The deaths kept coming. Seven Mountain View residents died less than three months after their moves.
Of the 18 residents who were relocated (two residents died before their transfers), only seven survive
today. Though death rates among nursing home residents are typically high, Mountain View staff and
families say the losses were excessive.


“If we had one or two [residents] pass away a year, that was a lot to us,” says Misty Mullins, who worked
as a certified nursing assistant at Mountain View for almost a decade. “The move was killing people.”


Ballad Health declined AARP's requests for interviews.


Negative impacts from relocating fragile residents — often labeled transfer traumas — have long been a
problem for U.S. nursing homes. For decades, resident advocates have warned of the harmful effects of
involuntary moves and fought to increase protections against them. They say a chronic lack of oversight
and accountability in the industry has allowed the problem to persist, often unnoticed.


That problem, with tragic consequences, may be about to grow. The COVID-19 pandemic threw the U.S.
nursing home industry into turmoil, exposing an array of long-standing industry shortfalls from
understaffing to overcrowding. The chaos pushed a growing number of facilities toward closure or
consolidation, putting their residents at risk of displacement. Recently, a St. Louis nursing home quickly
shuttered its doors, making headlines as 170 residents were transferred elsewhere, some without their
belongings or the knowledge of their families, The New York Times and other outlets reported.


Operating pressures and demands for improved performance from nursing homes have continued to
mount. A proposed federal law designed to boost safety in these facilities by increasing staffing will
likely add to the pressure. Roughly a quarter of nursing home residents nationwide may need to relocate
once the rule takes effect, according to a recent analysis commissioned by the American Health Care
Association (AHCA), the nation's largest lobbying group for nursing homes.


Without better uptake and enforcement of safeguards that allow for smooth transfers, many residents
may be vulnerable to the trauma of upheaval, just like those at Mountain View.
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                             Residents were ‘dwindling away’

The term “transfer trauma” was first coined in the 1960s, when gerontologists started to worry that
involuntary relocation of older people from private homes to institutions or between institutions could
have an adverse effect on health and even cause death. In 1992, “relocation stress syndrome” (RSS) — a
more clinical term for transfer trauma — became an official diagnosis of the North American Nursing
Diagnosis Association (now NANDA International). Today, RSS is defined as “a state in which an
individual experiences confusion and difficulty in adjusting to a new environment as a result of
relocation.”


A small collection of studies involving nursing home residents shows that those who are involuntarily
relocated may experience functional decline, increased loneliness and isolation, more hospitalizations
and falls, and even death.


“Change is never easy,” says Debra Saliba, a geriatrician and professor of medicine at the University of
California, Los Angeles. “Even bingo moving from one night to another can be hard.” Relocations are
“huge adjustments,” she says.


That's particularly so for transfers involving dementia patients, who make up roughly 50 percent of all
long-stay nursing home residents in the U.S. These patients commonly experience fear, disorientation
and confusion at higher levels, says Kim Warchol, an occupational therapist and founder of Dementia
Care Specialists, a company providing memory-care training.
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Most of Mountain View's residents suffered from dementia, so nurses worked hard to keep routines
consistent and familiar. Catering to the unique needs of each resident was key, says Caroline Haynes, a
licensed practical nurse who worked on the long-term care ward.


The facility was opened in 1948 as St. Mary's Hospital by a group of nuns who'd emigrated from Ireland
and England. Their mission was to serve “with dignity and a high degree of excellence, ever mindful of
the privilege of taking care of the needs of the poor,” according to their founding statement.


“They treated their staff and patients as family,” says Haynes, who began visiting St. Mary's as a three-
year-old in 1966 when her mother became the facility's director of medical records. When Haynes, now
60, was in her early 20s, she became a nursing assistant at what had by then become Mountain View.
She left for a time but returned in 2015 and stayed on through the closure. “All of us that have worked
there carried on the sisters' level of care,” she says.




Video: The Sisters' Legacy
Caroline Haynes, former nurse of Mountain View, on the history of the nursing home and its closure.
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As the nursing home industry moved toward large, for-profit models with high patient-to-staff ratios,
Mullins recognized that Mountain View's small size and intimate culture was rare. She was able to spend
extra time with residents, letting them choose their clothes for the day and singing along as she played
their favorite tunes. She made sure they always got a long soak: “I'd give 'em a bath like I would want to
be bathed,” she says.


Amid the transfers at Mountain View, Mullins tried her best to uphold the sisters' legacy. She picked up
shifts at the facility where most residents moved to try to help them adjust. There, she was required to
care for about 12 residents per shift instead of eight. Still, she worked hard to provide her longtime
patients with their normal standard of care. She even coordinated with other nurses to cluster them
together on the same ward, so they would see familiar faces. When she worked the morning shift, she
made sure they still got a good bath, even if it was shorter than usual.


   ‘She just started to look through me.’
But Mullins watched as the health of her Mountain View residents began to fail. Some stopped talking. A
few stopped recognizing her and fell into what she called “a trance.” Many who used to travel the
corridors of Mountain View in their wheelchairs for most of her 12-hour shifts would no longer leave
their bedrooms. “They were just sitting in corners,” she says, “dwindling away.”


Lucille (Lucy) Trent was one of those residents. At Mountain View, where she lived for roughly four
years, she did “exceptionally well,” says her youngest daughter, Kim Meade. Despite having dementia,
Trent was almost always calm and content. The workers knew what she liked: being called “mommy,”
sitting by the communal television, and bottles of Coca-Cola. “All she had to do was call out ‘Hello?’ and
it didn't matter who was walking by, they would go and get her a Coke,” Meade says. “It was her thing.”


But after her transfer, getting Trent to eat or drink became increasingly difficult. After just a month in
her new facility, her bottles of Coke remained full. “It got to a point where she wouldn't eat anything at
all,” Meade says. “She just started to look through me.”


Trent died just shy of three months after her transfer at age 94. Chronic obstructive pulmonary disease
was listed as Trent’s official cause of death. Meade says the move was at the heart of her decline.
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Family photographs of former Mountain View resident Lucille Trent, who loved quilting and cooking. Kim Meade believes transfer trauma caused her
mother's decline: “I really feel that's what happened to her.”



                                                An industry on shaky ground

       For decades, the nursing home industry has been shrinking: National occupancy rates and the number of
       facilities and residents have all steadily declined as aging adults increasingly opt for less
       institutionalized care. The declines persist even as the number of older Americans surges.


       During the COVID-19 pandemic, about 580 nursing homes closed nationwide, according to a report by
       the AHCA. “A workforce crisis combined with chronic underfunding and soaring costs are currently the
       main reasons for closures,” the AHCA wrote in a statement to AARP. As a result, about 21,500 residents
       — or nearly 2 percent of the national nursing home population — have been displaced, the report found.


       That number could surge, the industry claims. A first-of-its-kind federal law aiming to fix widespread
       understaffing in nursing homes with mandatory minimum staffing levels is expected to take effect in
       2024. A recent analysis of the new law by the advisory firm CliftonLarsonAllen, commissioned by the
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                 nearly 290,000Document
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could be at risk of displacement under it.
   With complex medical cases, things can easily fall
   through the cracks.
Nursing home operators claim they can't find enough workers and can't afford extra staffing to meet the
mandate, which CliftonLarsonAllen estimates will be $6.8 billion nationally. The industry has lost
roughly 150,000 workers, or about 10 percent of its workforce, since the onset of the pandemic. Low
pay, dangerous working conditions and high rates of burnout from understaffing have led to this mass
exodus, nursing home critics argue.


Although there's risk of transfer trauma for displaced nursing home residents, their advocates argue
there's also risk in keeping them in facilities without the workforce to support their needs. “Inadequate
staffing can have dangerous — even deadly — consequences,” says Megan O'Reilly, AARP vice president
for health and family issues. AARP supports the introduction of staffing minimums. “This is one critical
way to ensure quality of care,” O'Reilly says.


If some nursing homes fold under the mounting regulatory pressures, maybe that's “for the best,” argues
Charlene Harrington, a professor emeritus at the University of California, San Francisco (UCSF), who
has documented widespread care deficiencies in her research on nursing homes. “Nursing homes are,
generally, not of sufficient quality ... and there are a lot of people in nursing homes that don't need to be
in there.” Continued industry contraction, in tandem with more long-term care alternatives, including
home health services, will benefit America's aging population, she says.


But nursing homes will still be needed. So exactly which nursing homes close and in which communities
is important, Harrington says. Large, for-profit chain facilities are more likely to stay in business, she
says, while smaller, nonprofit operations, which tend to provide better care, go under. In rural areas,
such as Norton, Virginia, where Mountain View was located, quality care alternatives are limited, so
these closures are particularly worrying.


When shutdowns are necessary, some strategies can reduce the risks of transfer trauma, resident
advocates say. Relocation is “not ideal” among this fragile population, says Elizabeth Halifax, an assistant
professor of social behavioral sciences and nursing home researcher at UCSF, “but you can make it as
painless as possible.”


Safeguards are written into federal nursing home regulations, including notifications at least 60 days
before closing, state approval of a facility's closure plan and assurances that residents are “transferred
to the most appropriate facility or other setting” that considers their needs and best interests. Essential
care documents and information must be given to the receiving health care provider.


But amid complex medical cases and needs, things can easily fall through the cracks, says Joseph G.
Ouslander, a professor of geriatric medicine at Florida Atlantic University. No shared system of
electronic health records exists for nursing homes, making the transfer process ripe for medical errors.
“They happen all the time,” he says.
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                                                                                                 loss of her
        hearing aids, which disappeared in the flurry of activity before her move out of Mountain View, says her
        youngest son, Jerry. “She really relied on those,” he says.


        Without hearing aids, Georgia struggled to acclimate to her new home. Unable to listen to the Christian
        music she loved, her regular programs on Fox News or the familiar voices of her sons, she became less
        engaged and seemed depressed, Jerry says. Ten weeks after her relocation, Georgia, 88, contracted
        COVID-19 and died less than 24 hours after testing positive for the virus. Amid the move, she'd “maybe
        lost her will to live,” Jerry says.




Georgia Durham loved dressing up and playing with her great-grandchildren. Her youngest son, Jerry, says he'd “give anything” to have more time with his
mother.



                                                            Failing safeguards

        Though the list of regulations to safeguard against transfer trauma is long, proper adoption of them has
        historically been weak, says Lori Smetanka, executive director of the National Consumer Voice for
        Quality Long-Term Care. Complaints regarding improper discharge or transfer have consistently been
 Casethe
among 4:24-cv-00337-O
         most common typesDocument     1-4
                           of grievances     Filedto04/17/24
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                                                     the States' Long-Term of 28 PageID 145
                                                                               Ombudsman
Programs for roughly a decade.


At the same time, the government doesn't collect national-level data on resident transfers or discharges
occurring in nursing homes. The Centers for Medicare & Medicaid Services (CMS), the government
agency responsible for regulating the vast majority of U.S. nursing homes, says it provides oversight
through surveys and other means to make sure institutions comply with federal requirements,
according to a CMS spokesperson. But CMS data shows that roughly 30 percent of the nation's nursing
homes are overdue on these surveys, which by law should occur at least once every 15 months.



               Nursing Homes Overdue on Standard Inspections
                           50% or more         20%-49%          10%-19%   Less than 10%   Data not available




  Source: Centers for Medicare & Medicaid Services (as of 12/10/2023)




Even when facilities are inspected for their transfer processes, there are few penalties for violating
safeguards, so there's little incentive for nursing homes to comply, says Toby Edelman, a senior policy
attorney for the Center for Medicare Advocacy, a legal nonprofit working to advance access to health
care coverage.


A high-profile example of these failing safeguards is the turmoil that unfolded at San Francisco's Laguna
Honda Hospital and Rehabilitation Center, a skilled nursing facility serving about 700 low-income
patients. In April 2022, the federal government stripped the then-156-year-old facility of its Medicaid
certification, and therefore its government funding, due to substandard care. Administrators were told
they had until mid-September to get everyone out.


At least 11 of the first 57 residents transferred out of Laguna Honda died shortly after relocating. A
state investigation noted that Laguna Honda missed critical steps to minimize possible transfer traumas,
failing to properly assess residents' conditions, develop and implement individualized care plans, and
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the offenses.
   ‘In the end, it's all about money, not care and love.’
In a statement to AARP, Laguna Honda officials disagreed with the state's findings and blamed federal
regulators for issuing an “entirely insufficient” four-month deadline to transfer nearly 700 medically
fragile residents.


Both were culpable, argues Patricia McGinnis, executive director of California Advocates for Nursing
Home Reform. Government regulators “played a lead role in endangering the residents” by pressuring
Laguna Honda “to evict residents quickly, knowing it had no safe places to send them,” she wrote in a
January public statement. The fines handed down to the facility were “a mere slap on the wrist for
repeated and lethal acts of elder abuse.”


Under an intense media spotlight, the federal government extended Laguna Honda's funding to allow
for better closure planning and an opportunity to win back its Medicaid certification. In August 2023,
recertification was granted, meaning the facility could keep operating.
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Before her death, Betty Artrip enjoyed spending time with her sons and the Mountain View nurses. Jerry, Betty's youngest son, sits with his wife, Rebecca, at
his mother's gravesite.



                                                                Left in the dark

        No such spotlight ever came to Mountain View. Instead, workers and family members of residents say
        they were left to deal with the fallout of the closure of their small rural facility on their own.


        Virginia's Long-Term Care Ombudsman Program became aware of Mountain View's closure when it was
        publicly announced and offered support. But Mountain View officials declined help from the
        ombudsman program and “indicated that full assistance was being provided to residents and their
        families,” Joani Latimer, who heads the program, wrote to AARP. No official complaints about the facility
        were received, she added, which is typically required for the program to intervene.


        Several Mountain View staff and family members say they would have welcomed support. After news of
        the closure, they spent hours researching and comparing care alternatives, touring new facilities, filling
        out paperwork, packing and unpacking and, eventually, trying to nurse residents back to health after
        their transfers.
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Many    4:24-cv-00337-O          Document
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next-closest facility if they waited. Others feared a COVID-19 surge in the region could suddenly halt
admissions at facilities, leaving their loved ones with no place to go. Meade believes the rush was
harmful. “I wish they hadn't taken her so fast,” she says of her mother. “I think that was a mistake.”




Video: “The Closure,” poem written and read by Jerry Artrip
Jerry Artrip's mother, Betty, died five weeks after being transferred out of Mountain View.


Jerry Artrip has struggled to process his feelings about the experience, even turning to poetry to try to
find the right words. Since his mother's death, he's spent months searching for explanations for
Mountain View's closure, but responses from Ballad have been brief. “They've said it's just a business
decision,” he says. “In the end, it's all about money, not care and love.”


Jerry Durham admits more time probably wouldn't have changed the outcome. “I think the move was
always going to be too much for her,” he says of his mother. But he believes a pause on transfers would
have at least allowed him a few extra months with her. “I would give anything for that.”

Emily Paulin is an editor at aarp.org who covers nursing homes, health care, and federal and state policy. Her work has also
appeared in Broadsheet, an Australian lifestyle publication.

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                  Understanding and Preventing
                  Relocation Stress Syndrome
                  14 minute read
                  Last updated February 18, 2022



                             Written by Nirali Desai, memory care writer
                             Learn more about the author




                  M            oving can be a stressful event in anyone’s life, so it’s no
                               surprise that some seniors have trouble adjusting to
                               their new senior living community. Many older adults
                  move after an injury, medical diagnosis, or the loss of a family
                  member. These events are stressful alone, so when relocating is
                  thrown into the mix, seniors could become very overwhelmed.




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        Stress is typical during a move, but when it starts to drastically im-
        pact mental and physical health, it becomes an acute stress
        disorder commonly referred to as relocation stress syndrome (RSS).
        RSS, also called transfer trauma, is a set of symptoms that occur
        when an individual moves from one environment to another. The
        syndrome goes beyond normal stress and may cause significant
        health complications.

        Read on to learn more about relocation stress syndrome, its symp-
        toms, and how to prevent it while relocating senior loved ones.


        What is relocation stress syndrome?

        RSS is a condition that can affect older adults moving to senior living
        facilities, according to the Journal of Psychosocial Nursing and
        Mental Health Services. Seniors with a previous history of depres-
        sion, anxiety, pain, PTSD, and general health problems, as well as
        those who have pre-existing health conditions, have lived through
        traumatic events, or those who tend to avoid stressors or experience
        neuroticism (negativity, self-doubt, etc.) could be more prone to de-
        veloping RSS.

        For example, if a senior had a traumatic experience prior to their
        move, such as the loss of a loved one, a violent encounter, or a seri-
        ous medical diagnosis, they could already be experiencing an acute
        stress disorder, making them more susceptible to developing
        RSS. Seniors with chronic physical pain and also women are more
        susceptible to developing RSS.

        RSS was first discovered by nurses who witnessed it manifest while
        they cared for seniors in nursing homes and senior living facilities.
        The condition became recognized as distinct enough a syndrome to
        be classified on its own in 1992, when it was added as an official
        nursing diagnosis by the North American Nursing Diagnosis
        Association (NANDA), according to the journal Geriatric Nursing.



   Make the best senior care decision                              Get started
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                                                04/17/24 anxiety,
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                                                                     confu-
          sion, and they usually occur in the initial month after a person is ex-
          posed to what they perceive as a traumatic event, e.g., a move into a
          senior living facility. Ongoing symptoms can be as major as anxiety
          and depression, or as minor as changes in eating or sleeping habits.
          These symptoms can influence your loved one’s overall behavior,
          mood, and physiological well-being.


          Relocation stress syndrome symptoms

          RSS can present itself in various ways. It’s important to recognize the
          signs of transfer trauma to prepare your loved one for their move to
          a senior living community. According to the journal Geriatric
          Nursing, the stress of relocating can look different for everyone, but
          here are a few common psychological symptoms to keep an eye out
          for:

                 Anger


                 Anxiety

                 Apprehension

                 Confusion

                 Dependency

                 Depression


                 Insecurity

                 Loneliness

                 Withdrawal


          According to this helpful pamphlet on RSS awareness published by
          the State of Wisconsin Board on Aging and Long Term Care, the
          physical signs of stress in the older person experiencing RSS could
          include the following:


                 Body aches


                 Changes in eating habits
   Make the best senior care decision                                Get started
Case 4:24-cv-00337-O Document 1-4 Filed 04/17/24                 Page 22 of 28 PageID 152
                Difficulty sleeping


                Falls

                Headaches


                Stomach problems

                Weight change



        Dangers of a misdiagnosis


        “The effects of stress on the mind and body are well known,”
        said Tracy Mintz, a California-based social worker and a nationally
        recognized expert in relocation stress syndrome.

        “This particular stress is a little bit different in that it is so easily
        misdiagnosed as a problem to do with aging. When people have
        stress, they tend to get angry or irritable, they can’t focus, they can’t
        think clearly, they have trouble making decisions. These are all
        also symptoms of dementia.”

        The symptoms of dementia and RSS can overlap, which may cause a
        misdiagnosis, according to Mintz. RSS can often go unseen, with
        symptoms instead attributed as delirium or dementia. A senior may
        not have dementia but may simply be confused by waking up in a
        long-term care facility they don’t remember choosing.


        This is why it’s important to be prepared when moving your loved
        one to a senior living community and to support their continued in-
        volvement — so the necessary precautions can be taken to avoid con-
        fusing them to a point of delirium, risking a dementia misdiagnosis.




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                                  your unique situation.


   Make the best senior care decision                                   Get started
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        For seniors already with a dementia diagnosis, the risk of RSS is
        greater as they are unable to participate in decision-making and
        have difficulty assimilating new information. Their limitations in
        short-term memory and new learning memory disrupt their ability
        to cope with change, said Kim Warchol, founder and president
        of Dementia Care Specialists.


        Ways to prevent relocation stress syndrome
        before a move

        You can be proactive about your loved one’s move and take preventa-
        tive measures to lessen the chance of RSS and transfer trauma. The
        hardest part about moving your elderly loved one is getting them to
        feel at home.

        “Even if a move is eagerly anticipated, anxiety and depression can
        hit a senior suddenly, much like post-partum depression can sur-
        prise a new mom,” Mintz said. “I tell people [that] home is a feeling.
        You should be able to achieve the feeling of home anywhere, but
        when you yank people out of what their concept of home is, it can be
        very traumatic.”


        Sometimes the stress of a move can overshadow the positives. It’s
        important to show your loved one that moving also comes with op-
        portunities to refresh an old routine, pick up new hobbies, make
        new friends, and more. Shifting the perspective to the positives can
        help ease the transition for seniors to avoid any added trauma or
        stress.


        To help the transition go smoothly, you can try the following steps
        with your loved one:


            1. Talk to hospital advocates. If your loved one is being released
                  from a hospital, the hospital will typically have advocates or
                  “navigators” on staff to help make the transition into a senior
                  living facility as smooth as possible.



   Make the best senior care decision                                Get started
Case 4:24-cv-00337-O Document 1-4 Filed 04/17/24               Page 24 of 28 PageID 154
             2. Involve your loved one in the decision-making. If they insist
                on going home, allow them to try it out. When the need to
                move to a long-term care facility becomes obvious, work to
                include them in the decision process to help ensure their
                preferences are accounted for.

             3. Make sure your loved one knows exactly what’s
                happening. Keep them in the loop. Never just drop them off
                at a facility they haven’t vetted. “I don’t believe in infantilizing
                seniors,” Mintz said. “They are adults and they deserve the
                dignity of being told honestly what’s going to happen.”


             4. Acknowledge your loved one’s fears. If they ask, “What if I
                don’t like anybody there?” Mintz suggested not to lie or
                sugarcoat the situation. Instead say, “I’m not sure. We’re going
                to find out.” Try to keep an open mind, remain flexible, and
                present it as a process you are going through together.


             5. Validate their feelings. “Allow them the space to feel
                whatever they’re going to feel. Maybe they’ll feel excited.
                Maybe they’ll feel relieved because they were just barely
                holding it together at home. Maybe they feel nervous and
                terrified. These are all perfectly valid feelings,” Mintz said.


             6. Where possible, try to recreate their old home in their new
                home. “We don’t invest enough time in recreating that [home]
                feeling at the new location,” Mintz said. Take pictures of their
                bedside set-up and the top of their dresser, and work with
                them to recreate it with the same items.


             7. Encourage them to get involved in their new
                community. Communities offer a range of activities, so make
                sure to coordinate with staff to help your loved one continue
                their favorite hobbies and pastimes. This will also help them
                form new friendships and get familiarized with staff.


         “There are two magic words in all of this and they are ‘you’re right,’”
         Mintz said. Your elderly loved one wants to feel heard more than
         anything, so make sure not to dismiss their thoughts and complaints.


         If you can afford it, consider hiring a senior move manager. There
         are more than 900 move management companies in the U.S. devoted
         to moving seniors and setting up the perfect space for them, accord-
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          home.

          Read more: 5 Tips to Help Your Parent Transition to Assisted
          Living


          Treating relocation stress syndrome

          “So what to do if you suspect a loved one has RSS? You can connect
          them with a therapist to help them work out the underlying issues
          with the move. Larger assisted living communities may have groups
          to welcome new members. Sign your parent up and encourage them
          to mingle with others,” Mintz said.


          Perhaps the biggest thing you can do is change the way you address
          the issue with your loved one. Instead of forcing them to embrace
          the change, acknowledge their personal fears and sadness related to
          the change.


          The best way to help your loved one overcome RSS is to get everyone
          involved. The senior’s family, friends, caregivers, and staff members
          should learn to recognize the signs of transfer trauma, so they can
          be prepared to help them through it, according to the
          journal Canadian Nursing Home and the Journal of Practical
          Nursing.

          Here are specific ways that caregivers, staff, friends, and family can
          help:


                   Professional guidelines. Some professional staff may have
                   been trained to recognize RSS symptoms and best practices,
                   so they are equipped to work with new residents, their
                   families, and caregivers to develop a plan to keep transfer
                   trauma at a bay.


                   Workshops. Communities may set up workshops that
                   incorporate the topic of RSS. This gives the senior, their
                   caregivers, family, and staff an outlet to express their
                   feelings, which can help residents feel less alone in their
                   situation.


                   Control and self-identity. It’s important for staff and loved
                   ones to help seniors feel in control by enabling them to make
                   decisions when it comes to organizing their personal space,
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                  be called – some prefer their first name or nickname, while
                  others prefer Mr., Mrs., or Dr.


                 Privacy. It’s hard for some residents to feel a sense of privacy
                  in senior living communities, especially if they’re sharing a
                  room or apartment. It’s important for families and staff to
                  help roommates establish boundaries so everyone can live
                  harmoniously together.

                 Making friends. Many senior living residents experience loss
                  prior to their move, such as the loss of a spouse, their
                  previous good health, or the many possessions that filled
                  their home. These losses can delay their interest in making
                  new friends, so it’s important to acknowledge these losses
                  while consistently presenting them opportunities to get
                  involved in activities they love.


                 Celebrate contentment. It’s important to celebrate small
                  pleasures and joys. If you or a staff member sees the senior
                  enjoying themselves, positively comment on it so they can
                  see how far they’ve made it. Staff and family should
                  remember to celebrate progress, too, since they’ve played an
                  integral role in the senior’s well-being.


          Transfer trauma will typically subside within a few months. The
          first six to eight weeks are typically the most difficult for new resi-
          dents, according to the Journal of Gerontological Nursing. Difficulty
          can last up to several months for some, according to The
          Gerontologist. What you don’t want to do in the meantime is move
          them again.


          “That is just layering trauma on top of trauma. Moving again is not
          the anecdote to moving,” Mintz said. “If, after six months, your loved
          one hasn’t been able to settle in — or is constantly sick or very de-
          pressed or there’s some really big significant change like they used
          to be independent in toileting and now they’re not — then that’s
          significant.”

          In this case, Mintz recommends seeking out the help of your loved
          one’s family doctor, the Family Caregiver Alliance, or, if your loved
          one has Alzheimer’s disease or dementia, the Alzheimer’s
          Association.

   Make the best senior care decision                                  Get started
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        Whether your loved one has transitioned to assisted living or inde-
        pendent living, it’s crucial to involve them in any way possible.
        Including them in small and big steps can help ease relocation stress
        and help them adjust sooner.


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